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                                              CORRECTED




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-1695V


 LINDA SEABORG,                                             Chief Special Master Corcoran

                        Petitioner,                         Filed: July 29, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Wendy Cox, Siri & Glimstad, LLP, Austin, TX, for Petitioner.

Katherine Edwards, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On October 2, 2023, Linda Seaborg filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following an pneumococcal conjugate vaccine she received on
March 16, 2022. Petition at 1. Petitioner further alleges that she has suffered the residual
effects of her vaccine-related injury for more than six months. Petition at ¶ 19. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On July 25, 2024, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Respondent that “Petitioner’s alleged injury is consistent with SIRVA as defined by the

1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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Vaccine Injury Table. Specifically, Petitioner had no history of pain, inflammation, or
dysfunction of her left shoulder prior to vaccination; pain occurred within forty-eight hours
after receipt of an intramuscular vaccination; pain and reduced range of motion was
limited to the shoulder in which the vaccine was administered; and no other condition or
abnormality has been identified to explain Petitioner’s shoulder pain.” Id. at 7. Respondent
further agrees that “Petitioner has satisfied all legal prerequisites for compensation under
the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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